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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                  )
                          )
      Defendants. )



               PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT C




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                                  RISION, LTD - OVERWATCH/BIOEYE
                                        CORPORATE PRESENTATION
                                                     July 2020
Digital Health
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Overwatch Digital Health - 3 Product Lines




   OVERWATCH APP                                             EYMPACT                                        EYMPAIR
      Epilepsy detection and                      Mobile eye tracking concussion ; Mobile pupillary response drug
notification software application                 indication software application detection software application


• Significant global market opportunities for all product lines.
• Overwatch App is revenue generating with approximately 300 subscribers.
- Clinical studies underway, user acceptance data and field trials show compelling initial results.
° Cutting edge technologies which utilize proprietary artificial intelligence tools and machine learni g algorithms for continuous
  learning and adaptation.
• 100% owned intellectual property with significant patent pending protection.
• Qualified management and board of directors with extensive market, product development a d sales experience.
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          Overwatch Digital Health - Products Summary




      OVERWATCH AFP                                               EYMPACT                                          EYMPAI
• Provides real-time seizure monitoring,            • Records and analyzes ocular biomarkers in        Measures ocular biomarkers and analyzes
  detection and aler s so that caregivers and          real-time to assess changes in brain function   pupillary responses to external stimuli to
  doctors receive rapid notifications of a             and to provide rapid side-line indication of    assess whether a driver has ingested alcohol
  patient's epileptic seizures.                        potential sports-related concessive brain       or narcotics (marijuana, opioids,
                                                       injuries.                                       amphetamines, stimulates, barbiturates).
• Seizure alerts aid doctors and caregivers in
   making critical care decisions for individuals   • Accurate, timely indication of concussions       Provides real-time information to law
  living with epilepsy.                                enable medical personnel to make informed       enforcement and to commercial trucking
                                                       decisions for the treatment and                 and ride-sharing operators so that drug and
¦ Documents seizure events so that medical             management of concessive brain injuries in      alcohol impaired drivers can be prevented
   professionals can review and analyze in             order to im rove long-term outcomes.            from operating ve icles on public roadways.
   order to design more effective epilepsy
   treatment options and protocols.                 • Employs artificial intelligence tools to         Continually updates and refines its drug and
                                                      regularly update and to improve concussion       alcohol assessment capabilities through the
• Utilizes machine learning algorithms to             indication analysis.                             use of machine learning algorithms
  continuously improve seizure detection
  accuracy.

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